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iN THE uNrTED sTATEs olsTRicT couRT F"'E° BY ~ D-C~
FoR THE WESTERN oisTRlcT oF TENNEssEE
wEsTERN olvlsloN 05 AUG 21* AH 6= 59

lH@W§lJ.
uNlTED sTATEs oF AMERch, * CLE§KDE? p{'§§;oogmr
Plaintiff, *
vs. * Crimina| No. 05-20012-D
MoNTELl_ BRchEv\/ATER, *
Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

|n indictment Number 05-20012-D, the United States sought forfeiture of specific
property of defendant lV|onte|| Bridgewater, pursuant to 18 U.S.C. § 2252. On June 30,
2005, the defendant, |Vlonte|| Bridgewater, entered a plea of guilty to Counts 1 and 2 of the
|ndictment.

Accordingly, it is ORDERED:

1. Based upon the defendant’s guilty plea to Counts 1 and 2 of the indictment
Number 05-20012-0, the United States is authorized to seize the following property
belonging to defendant |V|onte|| Bridgewater, and his interest in it is hereby forfeited to the
United States for disposition in accordance with the law, subject to the provisions of 21
U.S.C. §853(n) and Ruie 32(d)(2) ofthe Federal Ru|es of Crimina| Procedure:

a. Any visual depiction described in Section 2252 of Tit|e 18 United
States Code, and any book, magazine, periodica|, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or

received in violation of the above said statute;

This document entered on the docket sheet in compliance
w‘lth Fiu!e E..i~`- and/or 32(b) FRCrP on ' %

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b. Any property, real or persona|, constituting or traceable to gross

profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personai, used or intended to be used to commit

or to promote the commission of the above said offenses, including but not limited to the

following:

1)

2)

3)
4)

5)
6)

7)

One (1) Compaq Presario |aptop
computer, serial number, 2V94CF|V|LT184;

One (1) Laptop computer bag (in box)
with assorted notebooks & f|oppy diskettes;

One (1) Box of assorted boxes & magazines;

Four (4) boxes containing approximately
300 VHS sexually explicit tapes;

One (1) Po|aroid Camera;

Two (2) boxes of assorted sexually explicit
booksl documents, & photographs;

One (1) Astro 2100 U-Scanner.

A|| pursuant to Tit|e 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States Marsha| in his

secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute

custodian.

3. Pursuant to 21 U.S.C. §853(n)(1), the United States |Vlarshal shall publish at

least once a week for three successive weeks in a newspaper of general circulation in

Shelby County, Tennessee, notice of this order, notice of the United States’ intent to

dispose of the property in such manner as the Attorney Genera| or his delegate may d irect,

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and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must tile a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
Thls notice shall state that the petition shall be for a hearing to adjudicate the validity of the
petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioners right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioners claim
and the relief sought. The United States lVlarshal or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicable, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
noUHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

5. if no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have clear title to the Subject Property following the
Court’s disposition of all third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(c), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

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necessary, pursuant to Fed. R. Crim. P. 32.2(e).

lT is so oRDERED this ,? ind day or @ M , 2005.

BER lCE B. DON LD
United States District Judge

PRESENTED BY.'

TERRELL L. HARR|S
United States Attorney

[W<QQV/

i/H‘F?lSTOPHER E. COTTEN
Assistant United States Attorney

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN D|V|S|ON

ll-

UN|TED STATES OF AMER|CA,

 

Plaintiff, *
vs. * Criminal No. O5-20012-D
lVlONTELL BR|DGEWATER, *
Defendant. *
LEGAL NOT|CE

 

Take notice that on 32 ZQ‘Z,ZQQJ/ , the United States District Court for the

Western District of Tennessee, Western Division, entered a Preliminary Orderof Forfeiture
ordering that all right, title and interest of the defendant lVlonte|| Bridgewater in the following
property be forfeited to the United States to be disposed of in accordance with law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shippedl or
received in violation of the above said statute;

b. Any property, real or persona|, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

promote the commission of the above said offenses, including but not limited to the

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following:

2)

3)
4)

5)

6)

7)

One (1) Compaq Presario |aptop
computer, serial number, 2V94CFMLT184;

One (1) Laptop computer bag (in box)
with assorted notebooks & floppy diskettes;

One (1) Box of assorted boxes & magazines;

Four (4) boxes containing approximately
300 VHS sexually explicit tapes;

One (1) Polaroid Camera;

Two (2) boxes of assorted sexually explicit
books, documents, & photographs;

One (1) Astro 2100 U-Scanner.

All pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

Generai or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioners alleged interest in the property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioners right, tit|e, or

interest in each of the forfeited properties and any additional facts supporting the

petitioners claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-200]2 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Dan Newsom

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Honorable Bernice Donald
US DISTRICT COURT

